                            Case 1:22-mj-00274-RMM Document 6 Filed 12/27/22 Page 1 of 20

AO 442 (Rev. 11111)    Arrest Warrant




                                             UNITED STATES DISTRICT COURT
                                                                             for the

                                                                  District    of Columbia


                      United States of America
                                  v.                                           ) Case: 1:22~mj-00274
                             Eric Christie                                     ) Assigned to: Judge Meriweather, Robin M-
                                                                               j Assign Date: 12/13/2022
                                                                               ) Desorj,ption: COMPLAINT WI ARREST WARRANT
                                                                               )
                                Defendant


                                                               ARREST WARRANT
To:       Any authorized         law enforcement     officer


           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary                                        delay
(name of person to be arrested)                                                         Eric Christie
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment             0 Superseding        Indictment        0 Information           0 Superseding       Information          II Complaint
o     Probation Violation Petition               0 Supervised Release Violation Petition                0 Violation Notice           0 Order of the Court

This offense is briefly described as follows:

 18 U.S.C. § 17S2(a)(l) and (b )(1 )(A) - Entering and Remaining                   in a Restricted Building or Grounds with a Deadly
 Weapon);
 18 U.S.c. § 17S2(a)(2) and (b)(I)(A)-            Disorderly or Disruptive Conduct in Restricted Building or Grounds with a
 Deadly Weapon;

                                                                                                                        Digitally signed by Robin M.
                                                                                    Robin M. Meriweather                Meriweather
                                                                                                                        Date: 2022.12.15 18:22:13 -05'00'
Date: __        ~I2=/~lS=/~20,,--,,2<-""2,---_
                                                                                                         Issuing officer's signature


City and state:                         Washin   ton D.C.
                                                                                                            Printed name and title


                                                                             Return

           This warrant was received on (date)              I s- KJ r {_ ~ ':l., and     the person was arrested on (date)             ::t:>... 0 et    .J ~
at (city and state)     L   0..> A~ ( I ~ t,         (&

Date:    ~     3, 10 ((,. .12                                                                ~          ~
                                                                                                            esungog;cer's   signature


                                                                                                 T u Y'      '" U'- .  5  DCC ; til      t
                                                                                                            Printe({name Jnd title
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                                                                             ~~Y -
                                    LIMITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
  UNITED STATES OF AMERICA                                   CASE NUMBER ~ ~          ~ ~ ~ O C~
                                                                                                      a~1
                                             PLAIIVTIFF(S)
                            V.

 Eric Christie
                                                                          DECLARATION RE
                                          nEF~xnnrrr~s~.             OLTT-OF-DISTRICT WARRANT



 The above-named defendant was charged by: Complaint
 in the                                District of ~lumbia                            on 12/15/zo22
at 6             ❑ a.m./ Q p.m. The offense was allegedly committed on or about 01/06/2021
in violation of Tifle ~s                            U.S.C.,Sections) 1752(a)(1) and (b)(1)(A),(a)(2)and (b)(1)(A)
to wit:

A warrant for defendant's arrest was issued by: Robin M.Meriweather, U.S. Magistrate iud~e

Bond of ~                              was pset /[]recommended.

Type of Bond:

Relevant documents)on hand (attach): Criminal Complaint, Arrest Warrant


I declare under penalty of perjury that the foregoing is true and correct.

Executed on      12/23/2022
                    Date


                                                             Kyle Hicks
Signature of Agent                                            Print Name of Agent


FBI                                                          Special Agent
Agency                                                        Tide




CR-52(03/20)                          DECLARATION REOUT-0E-D1S1'ItICT WARRANT
           Case 2:22-mj-05016-DUTY
                 Case 1:22-mj-00274-RMM
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 Submit this form bye-mail to:                                                                   rILED
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CrimintakeCourtDou-RS cacd uscourts gov For Riverside criminal duty.
                                                                                      ~a~~ QEC 23 AM 9~ 5~
                                                                                       ,,          ~~ .~
                                              UNITED STATES DISTRICT COfi~'I'`s ~~,1. iJ ~ ~` ~ ~
                                            CENTRAL DISTRICT OF CALIFORNIA
                                                                         _ __ .___
                                                                           CASE NUMBER ~ ~              ~~ _ O c O
 UNITED STATES OF AMERICA
                    V.                                     PLAINTIFF                                                J

 Eric CHRISTIE                                                                      REPORT COMMENCING CRIMINAL
                                                                                                    ACTION
 USMSa►r                                                DEFENDANT

TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All azeas must be completed. Any area not applicable or unknown should indicate "N/A".

 1• The defendant was arrested in this district on 12/22/2022                       at 12;2p     ❑ AM ❑x PM
    or
    The defendant was arrested in the                       District of                     on              at        ❑ AM ~ PM

2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
    any other preliminary proceeding:            ❑Yes          ~x No

3. Defendant is in U.S. Marshals Service lock-up (in this court building):                     ~x Yes      ❑ No

4. Charges under which defendant has been booked:

     18 U.S.C. 4 1752(a)(1) and (b)(1)(A),18 U.S.C. 4 1752(a)(2) and (b)(1)(A)

5. Offense charged is a:         ~ Felony          ❑Minor O~'ense              ❑Petty Offense              ❑x Other Misdemeanor
6. Interpreter Required:         Ox No      ❑Yes          Language:

7• Year of Birth: 1966

8. Defendant has retained counsel:               ~ No
    ❑ Yes        Name:                                                              Phone Number:

9• Name of Pretrial Services Officer notified:

10. Remarks (ifany):

11. Name: Kyle Hicks                                              (please print)

12. Office Phone Number: 424-280-0992                                           ~      13• Agency: FBI
14. Signature:                                                                         15. Date: 12/23/2022

CR-64(09/20)                                    REPORT COMMENCING CRIMINAL ACTION
Case 1:22-mj-00274-RMM Document 6 Filed 12/27/22 Page 4 of 20
Case 2:22-mj-05016-DUTY
       Case 1:22-mj-00274-RMM
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                                             Filed 12/27/22
                                                        Page Page
                                                             2 of 10
                                                                   5 ofPage
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       Case 1:22-mj-00274-RMM
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       Case 1:22-mj-00274-RMM
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       Case 1:22-mj-00274-RMM
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       Case 1:22-mj-00274-RMM
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       Case 1:22-mj-00274-RMM
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       Case 1:22-mj-00274-RMM
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                                                        Page Page
                                                             8 of 10
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       Case 1:22-mj-00274-RMM
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                                                        Page Page
                                                             9 of 10
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        Case 1:22-mj-00274-RMM
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                                                       Page 10
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                                                               of 10
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                                                                        20 ID #:13
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             Case 1:22-mj-00274-RMM
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                                                            Page Page
                                                                 1 of 1 14Page
                                                                           of 20ID #:19
                                                                                 Page 1 of 1



                                                         UNITED STATES DISTRICT COURT
                                                        CENTRAL DISTRICT OF CALIFORNIA

i1NITED STATES OF AMERICA,                                                   ~   Western Division
                                                                  Plaintiff, ~
                                     vs.                                     ~   Case Number: 222-MJ-05016                 Out of District Affidavit
                                                                             ~   Initial App. Date: 12/23/2022             Custody
Eric Christie                                                                i   Initial App. Time: 2:00 PM




                                                                 Defendant. ~ Date Filed: 12/23/2022
                                                                            ~ Violation: 18:1752

                                                                             ~ CourtSmart/ Reporter: LA ~2I23(2L.

        PROCEEDINGS HELD BEFORE UNITED STATES                                ~                      CALENDAR/PROCEEDINGS SHEET
             MAGISTRATE JUDGE: Alka Saaar                                    ~                       LOCAL/OUT-OF-DISTRICT CASE



       PRESENT:                     Felix, Alma                                                                                 None

                              Deputy Clerk
                                                                   ~a~a M:r~~l
                                                                            Assistant U.S. Attorney                    Interpreter/Language
                   TIAL APPEARANCE NOT HELD -CONTINUED
          ~
          ~
                C urt issues Order under Fed. R Crim. P. 5(~ concerning prosecutor's disclosure obligations; see General Order 21-02(written order).
                 efendant informed of charge an fight to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
           ,~~ preliminary hearing OR           removal hearing /Rule 20.
           p~Defendant states true name      is as charged ❑ is
             Court ORDERS the caption of the IndictmenUlnformation be changed to reflect defendant's different true name. Counsel are directed to file all
             future documents reflecting the true name as stated on the record.
           ❑ Defendant advised of consequences of false statement in financial affidavit. ❑Financial Affidavit ordered SEALED.
           ~ Attorney: Geor¢e Newhouse, Retained ❑Appointed ❑ Prev. Appointed ❑ Poss. Contribution (see sepazate order)
           ❑
                   Special appeazance by:
              Go~vemmenYs request for detention is:
           ,~,/                                           GRANTED ❑ DE,~NI D ❑WITHDRAWN ❑CONTINUED
           Q~Contested detention heazing is held.      Defendant is ordered: L~ Permanently Detained ❑Temporarily Detained (see sepazate order).
             BAIL FIXED AT $                                        (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
           ❑ Government moves to UNSEAL Complaint/Indictment/Information/Entire Case: ❑GRANTED ❑DENIED
           ❑ Preliminary Hearing waived. ❑ Class B Misdemeanor ❑Defendant is advised of maximum penalties
           ~ This case is assigned to Magistrate Judge                                      .Counsel are directed to contact the clerk for the setting
             of all further proceedings.
           ❑ PO/PSA WARRANT ❑Counsel are directed to contact the clerk for
             District Judge                                                  for the setting of further proceedings.
             Preliminary Hearing set for                         at 4:30 PM
           ~ PIA set for:                                  at 11:00 AM in LA; at 10:00 AM in Riverside; at 10:00 AM in Santa Ana
           ❑ Government's motion to dismiss case/defendant                                              only: ❑GRANTED ❑DENIED
           ❑ Defendants motion to dismiss for lack of probable cause: ❑GRANTED ❑DENIED


          ~      efendant executed Waiver of Rights. ❑Process received.
                Court ORDERS defendant Held to Answer to
                ❑ Bond to transfer, if bail is posted. Defendant to report on or before
                                                                                                    /    \,
                                                                                        District of Lp~u~e~ dl
                                                                                           1'~~~
        '~ ~n2nt of removal and final commitment to issue. Date issued: ~r~~i~+-.
                    Warrant of removal and final commitment are ordered stayed until
                                                                                                                 By CRD:              ~

                Case continued to ate) ~ Q                                (Time) ~~~                       M PM
                Type of Hearing:                             Before Judge            a.                 /Duty Magistrate Judge.
                Proceedings will be held in the ❑Duty Co rtroom                         Judge's Courtroom   ~j~~'~b~~^
             Defendant committed to the custody of the U.S. Marshal ❑Summons: Defendant ordered to report to USM for processing.
           ~ Abstract of Court Proceeding(CR-53)issued. Copy forwarded to USM.
                Abstract of Order to Return Defendant to Court on Next Court Day(M-20)issued. Original forwarded to USM.
           ~ RELEASE ORDER NO:
           ~ Other:
                             PSA ❑ USPO                   CIAL                   CR-10 ~R.2'1.                      READY
                                                                                                                     Deputy Clerk Initials
                                                                                                                           —~

           MS(10/13)                              CALENDAR/PROCEEDING SI-IFFY -LOCAL/OUT-0E-DISTRICT CASE                                    Page 1 of 1




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         Case 2:22-mj-05016-DUTY
               Case 1:22-mj-00274-RMM
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                                                              Page Page
                                                                   1 of 1 15Page
                                                                             of 20ID #:24


                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                                 CASE NUMBER:
                                                        PLA~T~FF                  ~,~ ~ZZ~ ~-'-~oSo r6 _
                             ~.

~c ~►~~f~                                                                                         WAIVER OF RIGHTS
                                                                                               (OUT OF DISTRICT CASES)
                                                     DEFENDANT.


       Iunderstand th ~?arr$e e                         m ~r                             District of  ~d~<~~J .
alleging violation of ~~/ V ~~                          ~ `                         and thatIhave been arrested in this district and
                          (Title and Section /Probation /Supervis    Release)
taken before a United States Magistrate Judge, who has informed me of the charges)                                   ~-   riLtU --
       (1)     have an identity hearing to determine whetherIam the person named i tl~                              z' .~s  ISTRICTCOURT
       (2)     arrival of process;
                                                                                                                  DEC 2 32022
-Check one only-

❑        EXCLUDING PROBATION OR SUPERVISED RELEASE CASES:                              sYr~~ ~ ~~`'L U ,'~~cO _~~
                                                                                                                ) RNIA
                                                                                                              DEPUTY
        (3)  have a preliminary hearing (unless an indictment has been returned or an information i e o
             determine whether there is probable cause to believe an offense has been committed by me,the
             hearing to be held in this district or the district of prosecution; and
        (4)  request transfer of the proceedings to this district under Rule 20, Fed.R.Crim.P., in order to plead
             guilty.

❑       PROBATION OR SUPERVISED RELEASE CASES:
        (3)  have a preliminary hearing (if the violation charged allegedly occurred in this district, and I am
             held in custody solely on that charge) under Rule 32.1(b), Fed.R.Crim.P., to determine whether
             there is probable cause to believe I have violated the terms of my probation/supervised release.

         I HEREBY WAIVE(GIVE UP)MY RIGHTS) TO:

         fH~
         ~
         f      have an identity hearing                                     ~J
                arrival of process                                        ~(
                        pr     m          g                               U
         ❑      have an identity hearing, and have been informed that I have no right to a preliminary hearing
         ❑      have an identity hearing, but I request that ~a reliminary hearing be held in the prosecuting
                district.                                 /,




                                                                    pefemme Counsel
                                                                    V
Date: ~'~~~ ~~~                                                                                ~~
                                                                    United States Magistrate Judge


I have translated this Waiver to the defendant in the                                                                     language.

Date:
                                                                    Interpreter(if required)



M-14 (09/09)                          WAIVER OF RIGHTS(OUT OF DISTRICT CASES)
       Case 2:22-mj-05016-DUTY
             Case 1:22-mj-00274-RMM
                                Document
                                     Document
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                                                  12/23/22
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                                                                         of 20ID #:29


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                                                                                           DEC 23~
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                                                                                   CEN~F:/`~L ~'.~ fFjCT
                                                                                   gy               ~~~        DEPUTY

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                                               CASE NUMBER:
 United States of America,

                                                  Plaintiff,   ov'~ ~'I ~ ~~~~ v ~~
                       v.

                                                                                   ADVISEMENT OF

 ~
 CC <'' ~=~ " "    ~~1
                                ~              Defendant.
                                                                              DEFENDANT'S STATUTORY &
                                                                               CONSTITUTIONAL RIGHTS


You are in the United States District Court for the Central District of California because you have been charged
with a crime against the United States or a violation of probation, supervised release, or pretrial release. The
Court informs you that you have the following constitutional and statutory rights in connection with these
proceedings:

       You have the right to remain silent. Anything you say, sign, or write can be used against you in this or in
any other case.
        If you have not already received a copy of the charges, you will receive a copy today.
        You have the right to hire and be represented by a lawyer of your choosing at each and every stage of
these proceedings. If you cannot afford to hire a lawyer, you can apply to the Court to have a lawyer appointed
to represent you for free from the office of the Federal Public Defender or the Indigent Defense Panel. The
application for free counsel includes a financial affidavit, which you must sign under penalty of perjury. If you
say something on the form that is not true or leave out material information, you could be charged with another
crime,such as perjury or making a false statement.
       If you are not a United States citizen, you may request that the prosecution notify your consular office
that you have been arrested. Even without such a request, the law may require the prosecution to do so.

               IF YOU A        AKING YO R INITIAL APPEARANCE BEFORE THE COURT
        You have a rig t to a ba' hear'      n which the Magistrate Judge will determine whether you will be
released from custody                   you disagree with the Magistrate Judge's decision, you can appeal that
decision to another Judge of this Court. You or the prosecutor can request that the bail hearing be continued to
another day.
        If you have been charged by complaint, you are entitled to a preliminary hearing within 14 days if the
Magistrate Judge orders that you be detained pending trial, or 21 days if the Magistrate Judge orders that you be
released pending trial. In a preliminary hearing, the prosecution will attempt to show that there is probable
cause to believe that you committed the crime charged in the complaint. You will not be entitled to a
preliminary hearing, however, if the prosecution obtains an indictment in your case before the time set for the
preliminary hearing. (Most often, the prosecutors in the Central District of California present their cases to the
grand jury before the time set for the preliminary hearing and, therefore, no preliminary hearing is held.)

                         IF YOU ARE CHARGED WITH A VIOLATION OF
                   YOUR CONDITIONS OF SUPERVISED RELEASE OR PROBATION
       If you are charged with a violation of the terms and conditions of your supervised release or probation
and the Magistrate Judge detains you, you have the right to a preliminary hearing before a Magistrate Judge.

CR-l0(06/18)            ADVISEMENT OF DEFENDANT'S STATUTORY &CONSTITUTIONAL RIGHTS                                 PAGE 1 OF 2
                                                                                                          continued on Page 2
       Case 2:22-mj-05016-DUTY
             Case 1:22-mj-00274-RMM
                                Document
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                                         10 Filed
                                               6 Filed
                                                  12/23/22
                                                       12/27/22
                                                            PagePage
                                                                2 of 217Page
                                                                         of 20ID #:30



                             IF YOU ARE CHARGED IN ANOTHER DISTRICT
        If you have been arrested on a charge from another district, you are entitled to wait until the prosecution
produces a copy of the warrant authorizing your arrest. You are also entitled to an identity hearing in which the
prosecution would have the burden of proving there is probable cause to believe that you are the person named
in the charges. If you are charged in a complaint from another district, you may request to have a preliminary
hearing held in the charging district. If you are charged with a violation of a term of supervised release or
probation imposed in another district, you have a right to a preliminary hearing, which may, depending on
where the alleged violation occurred, be held either here or in the charging district.
        If you want to plead guilty in the Central District of California, you may request to have your case
transferred to this district. To proceed in this district, the United States Attorneys for this district and the
charging district must agree to the transfer.

                              IF YOU ARE APPEARING FOR ARRAIGNMENT
         If you have been charged by indictment or information, you will be arraigned and maybe asked to enter
a not guilty plea today. After your arraignment, your case will be assigned to a District Judge of this Court for
all further proceedings, unless a Judge has already been assigned.
        You are entitled to a speedy and public trial by jury. The right to a jury trial can be waived.
        You are entitled to see and hear the evidence and cross-examine the witnesses against you. You are
entitled to the processes of the Court to subpoena witnesses on your behalf without cost to you if you are
indigent. You do not have to prove your innocence. The prosecution has the burden to prove your guilt
beyond a reasonable doubt.


ACKNOWLEDGMENT OF DEFENDANT:

I have read the above Advisement of Rights and understand it. I do not require a translation of this statement
nor do I require an interpreter for court proceedings.

   Dated: ~Cc Zf~ Zl~7i~j
                                                                            Signature ofDefendant
                                                        ~OY~

   I have personally heard a translation in the                                          language read to me and
   understand the above Advisement of Ri
                                                          ~~/
   Dated:
                                                                            Signature o De en ant

STATEMENT OF THE INTERPRETER:

   I have translated this Advisement of Rights to the Defendant in the                                    language.

   Dated:
                                                                            Signature o Interpreter



                                                                           Print Name o Interpreter


STATEMENT OF COUNSEL:

   I am satisfied that the defendant has read this Advisement of Rights or                the
   thereof and that he/she understands it.

   Dated: ~~ ~ ~~~ ~LZ

CR-l0(06/18)          ADVISEMENT OF DEFENDANT'S STATUTORY & C~S`TITUTIONAL RIG~TS/                         PAGE 2 OF 2
Case 1:22-mj-00274-RMM Document 6 Filed 12/27/22 Page 18 of 20
Case 1:22-mj-00274-RMM Document 6 Filed 12/27/22 Page 19 of 20
Case 1:22-mj-00274-RMM Document 6 Filed 12/27/22 Page 20 of 20
